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RE: Atlas Data Privacy Corp, et al v. We Inform, LLC, et al
Case Number: 25-1555, et al.
District Court Case Number: 1:24-cv-04037

Dear Counsel:

The Court has directed me to advise counsel in the above-entitled case that oral argument
on the merits is scheduled on Tuesday, July 08, 2025. Counsel will be allotted 15
minutes oral argument time for each side. Pursuant to Fed. R. App. P. 29(a)(8), an
amicus curiae may participate in oral argument only with the Court’s permission.

The time and location of oral argument will be confirmed at a later date. Counsel
who will present oral argument should register with the Court Crier in the courtroom 30
minutes prior to the time when court is scheduled to convene.

Counsel should read the instructions for oral argument. If multiple parties are arguing for
each side, counsel shall file a division of time form (a writeable form), if necessary,
through CM/ECF.
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District Court Case Number: 1:24-cv-04037

Appellants and Appellees are asked to provide very brief summaries of the issues in the
case by docketing the Summary of Oral Argument event, located in the Argument
Notices & Acknowledgements category, within five (5) business days. This is part of a
program to provide the public with information about the Court’s cases. The summaries
will be posted on the Court’s website.

Audio of arguments is posted on the Court’s website shortly after the conclusion of
arguments. In addition, the Court may direct that video of oral argument 1 in cases that
are of significant interest to the public, the bar or the academic community be posted on
the website. In order to assist the Court in this determination, Appellants and Appellees
will be asked, when providing the summary of oral argument, whether they recommend
that video be posted or whether they object to the posting of video. Whether video is
posted is within the sole discretion of the judges hearing oral argument. The panel of the
Court will determine after oral argument whether video of any argument should be
posted. Attorneys will be notified if video will be posted and given a further opportunity
to object by close of business the next day.

Pursuant to IOP Chapter 2, you are hereby advised that your appeal will be argued before
the following panel BIBAS, FREEMAN and CHUNG, Circuit Judges

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By: Patrick
Calendar Clerk
267-299-4932




1
  Only arguments scheduled in the Albert Branson Maris and Collins J. Seitz courtrooms in Philadelphia, PA are
video recorded.
